           Case 1:20-cv-01650-NRB Document 19 Filed 10/15/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
JOE HAND PROMOTIONS, INC.,
                                    Plaintiff,
                                                                         20 CIV 1650 (NRB)

                 -against-                                           DEFAULT JUDGMENT
ALBIN INFNATE, Individually, and as Officer,
Director, Shareholder and/or Principal of
MOFONGO EL MOCANO RESTAURANT
AND LOUNGE CORP.

and

MOFONGO EL MOCANO RESTAURANT
AND LOUNGE CORP.
                                Defendants.
---------------------------------------------------------X

         It is hereby ORDERED, ADJUDGED, AND DECREED, that pursuant to the

Court’s Memorandum and Order dated October 14, 2020, the motion for default judgment is

granted, and award damages in the sum of $6,440. Judgment is entered in favor of Plaintiff.

DATED: New York, New York
       October 15, 2020
                                                             RUBY J. KRAJICK
                                                             __________________
                                                                Clerk of Court

                                                        BY: ___________________
                                                               Deputy Clerk
